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               Exhibit 4
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002915


From:               Rusyn, Ivan
To:                 Lauren Zeise (Lauren.Zeise@oehha.ca.gov); LE CURIEUX Frank; Ross, Matthew; martin.matt@epa.gov
Subject:            FW: IARC mono vol 112 section 4
Date:               Tuesday, February 10, 2015 10:45:50 AM
Attachments:        image001.png
                    report (23).docx




From: Kathryn Guyton [mailto:GuytonK@iarc.fr]
Sent: Tuesday, February 10, 2015 6:26 AM
To: Rusyn, Ivan
Subject: IARC mono vol 112 section 4

Bonjour Ivan!

In anticipation of the call today, kindly see the below the status of vol 112 Section 4 contributions. Matt Ross has completed everything, including a draft of 4.6 Mechanistic considerations for parathion! Others are in various states of completion. All submitted
drafts have been sent for peer review.

Questions for you below, and let me know of anything else you’d like to discuss.

Thank you Ivan!!
Kate

Questions:
— Unless you would disagree, I wouldn’t adjust assignments… nonetheless all drafts should be submitted/reviewed/revised within 2 weeks (24 Feb).
— what due date (suggest 24 Feb) and format do you want to use for Section 4.6? If you prefer a tabular summary of key evidence, this could be done in the Table Builder or using the attached Word file. Otherwise, we can propose one of the vol 110s as a
model?


                        (4 /
Le Curieux Frank
                        6)
DZN 4.2.1 Genetic and related effects (*******DIAZINON********) (2015-01-13)
GLYP 4.2.1 Genetic and related effects (*********GLYPHOSATE**********) (2015-01-13)
MAL 4.2.1 Genetic and related effects (*******MALATHION*********) (2015-01-13)
PAR 4.2.1 Genetic and related effects (*******PARATHION********) (2015-01-13)
TCVP 4.6 Mechanistic considerations (***********TETRACHLORVINPHOS**********) (2015-02-13)
TCVP 4.2.1 Genetic and related effects (***********TETRACHLORVINPHOS**********) (2015-01-13)


                         (6 /
Ross Matthew K.
                         6)
DZN 4.1. Toxicokinetic data (*******DIAZINON********) (2015-01-13)
GLYP 4.1. Toxicokinetic data (*********GLYPHOSATE**********) (2015-01-13)
MAL 4.1. Toxicokinetic data (*******MALATHION*********) (2015-01-13)
PAR 4.1. Toxicokinetic data (*******PARATHION********) (2015-01-13)
PAR 4.6 Mechanistic considerations (*******PARATHION********) (2015-02-13)
TCVP 4.1. Toxicokinetic data (***********TETRACHLORVINPHOS**********) (2015-01-13)


                         (12 /
Zeise Lauren
                         15)
DZN 4.2.4 Altered cell proliferation or death (*******DIAZINON********) (2015-01-13)
DZN 4.2.2 Receptor-mediated effects (*******DIAZINON********) (2015-01-13)
DZN 4.2.5 Other mechanisms (*******DIAZINON********) (2015-01-13)
DZN 4.6 Mechanistic considerations (*******DIAZINON********) (2015-02-13)
GLYP 4.2.2 Receptor-mediated effects (*********GLYPHOSATE**********) (2015-01-13)
GLYP 4.2.4 Altered cell proliferation or death (*********GLYPHOSATE**********) (2015-01-13)
GLYP 4.2.5 Other mechanisms (*********GLYPHOSATE**********) (2015-01-13)
MAL 4.2.2 Receptor-mediated effects (*******MALATHION*********) (2015-01-13)
MAL 4.2.5 Other mechanisms (*******MALATHION*********) (2015-01-13)
MAL 4.2.4 Altered cell proliferation or death (*******MALATHION*********) (2015-01-13)
PAR 4.2.2 Receptor-mediated effects (*******PARATHION********) (2015-01-13)
PAR 4.2.4 Altered cell proliferation or death (*******PARATHION********) (2015-01-13)
PAR 4.2.5 Other mechanisms (*******PARATHION********) (2015-01-13)
TCVP 4.2.2 Receptor-mediated effects (***********TETRACHLORVINPHOS**********) (2015-01-13)
TCVP 4.2.3 Other mechanisms (***********TETRACHLORVINPHOS**********) (2015-01-13)

                         (1 /
Martin Matthew T.
                         9)
DZN 4.3. Data relevant to comparisons across agents and endpoints
(*******DIAZINON********) (2015-01-13)
DZN 4.5 Other adverse effects (*******DIAZINON********) (2014-11-18)
GLYP 4.3. Data relevant to comparisons across agents and endpoints
(*********GLYPHOSATE**********) (2015-01-13)
GLYP 4.5. Other adverse effects (*********GLYPHOSATE**********) (2015-01-13)
MAL 4.3. Data relevant to comparisons across agents and endpoints
(*******MALATHION*********) (2015-01-13)
MAL 4.5. Other adverse effects (*******MALATHION*********) (2015-01-13)
MAL 4.6 Mechanistic considerations (*******MALATHION*********) (2015-02-13)
PAR 4.5. Other adverse effects (*******PARATHION********) (2015-01-13)
TCVP 4.5. Other adverse effects (***********TETRACHLORVINPHOS**********) (2015-
01-13)

                         (9 /
Rusyn Ivan
                         12)
DZN      4.2.3      Oxidative       stress,      inflammation        and      immunosuppression
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(*******DIAZINON********) (2015-01-13)
DZN 4.4. Cancer susceptibility data (*******DIAZINON********) (2015-01-13)
GLYP 4.4. Cancer susceptibility data (*********GLYPHOSATE**********) (2015-01-13)
GLYP 4.6 Mechanistic considerations (*********GLYPHOSATE**********) (2015-02-13)
GLYP       4.2.3  Oxidative     stress,     inflammation  and     immunosuppression
(*********GLYPHOSATE**********) (2015-01-13)
MAL       4.2.3  Oxidative     stress,     inflammation   and     immunosuppression
(*******MALATHION*********) (2015-01-13)
MAL 4.4. Cancer susceptibility data (*******MALATHION*********) (2015-01-13)
PAR 4.3. Data relevant to comparisons across agents and endpoints
(*******PARATHION********) (2015-01-13)
PAR 4.4. Cancer susceptibility data (*******PARATHION********) (2015-01-13)
PAR       4.2.3  Oxidative     stress,     inflammation   and     immunosuppression
(*******PARATHION********) (2015-01-13)
TCVP 4.3. Data relevant to comparisons across agents and endpoints
(***********TETRACHLORVINPHOS**********) (2015-01-13)
TCVP 4.4. Cancer susceptibility data (***********TETRACHLORVINPHOS**********)
(2015-01-13)
